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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 In re                                 §                                  Chapter 11
                                       §
 HOUSTON REGIONAL SPORTS NETWORK, L.P. §                                  Case No. 13-35998
                                       §
            Debtor.                    §


             EMERGENCY MOTION OF PROPONENTS TO SEAL
  PROPONENTS’ MEMORANDUM OF LAW IN SUPPORT OF CONFIRMATION OF
   THE SECOND AMENDED CHAPTER 11 PLAN DATED SEPTEMBER 30, 2014, IN
         RESPECT OF HOUSTON REGIONAL SPORTS NETWORK, L.P.

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF
         YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE
         A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU
         MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
         DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
         WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT
         FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
         WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
         MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
         ATTEND THE HEARING.       UNLESS THE PARTIES AGREE
         OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
         HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

         REPRESENTED              PARTIES         SHOULD           ACT        THROUGH         THEIR
         ATTORNEY.

         AN EMERGENCY HEARING ON THIS MATTER HAS BEEN
         REQUESTED. IF THE COURT CONSIDERS THE MOTION ON AN
         EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS
         TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF
         YOU BELIEVE THE EMERGENCY CONSIDERATION IS NOT
         WARRANTED, YOU SHOULD FILE AN IMMEDIATE RESPONSE.

TO THE HONORABLE MARVIN ISGUR, UNITED STATES BANKRUPTCY JUDGE:

         Houston Regional Sports Network, L.P. (“HRSN” or the “Debtor”), as debtor and debtor

in possession, Houston Astros, LLC, and Rocket Ball, Ltd. (collectively, the “Proponents”) file


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this Emergency Motion of Proponents to Seal Proponents’ Memorandum of Law in Support of

Confirmation of the Second Amended Chapter 11 Plan Dated September 30, 2014, In Respect of

Houston Regional Sports Network, L.P. (the “Motion”).                     In support of the Motion, the

Proponents respectfully represent:

                                            Basis for Emergency Relief

        1.       The Proponents file this Motion on an emergency basis to request authority from

the Court to file, under seal, a copy of the Proponents’ Memorandum of Law in Support of

Confirmation of the Second Amended Chapter 11 Plan Dated September 30, 2014, In Respect of

Houston Regional Sports Network, L.P. (the “Proponents’ Confirmation Brief”), to be delivered

to the Court contemporaneously with the filing of this Motion, as required under the current

scheduling agreement of the parties. Consideration of the Motion on an emergency basis will

allow the Proponents to ensure, as soon as possible, that the confidential and/or highly

confidential materials contained or referred to in the Proponents’ Confirmation Brief are

protected pursuant to the Protective Order (defined below).

                                               Jurisdiction and Venue

        2.       This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue of this case and this

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 Background

        3.       On September 27, 2013 (the “Petition Date”), certain petitioning creditors filed a

petition for involuntary bankruptcy relief pursuant to section 303 of the Bankruptcy Code.

        4.       On February 4, 2014 (the “Commencement Date”), the Court entered an Order for

Relief and Case Management Order.



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        5.       The Debtor continues to manage and operate its business as a debtor-in-

possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No official committee

of unsecured creditors has been appointed in this Chapter 11 case. Further, no trustee or

examiner has been appointed in this bankruptcy case.

        6.       The Debtor develops, owns and operates a regional television sports network in

and around the greater Houston, Texas metropolitan area. The network’s content includes sports

events involving Houston-based athletic organizations, including the Houston Astros and the

Houston Rockets.

        7.       The Debtor has three (3) limited partners: Houston SportsNet Holdings, LLC,

which is an affiliate of Comcast, Inc. (“Comcast Owner”); Rockets Partner, L.P. (the “Rockets”);

and Astros HRSN LP Holdings LLC (the “Astros”). The Debtor’s general partner is Houston

Regional Sports Network, LLC (the “General Partner”).

        8.       On September 30, 2014, the Proponents filed the Second Amended Chapter 11

Plan of Reorganization dated September 4, 2014 In Respect of Houston Regional Sports

Network, L.P. (as subsequently amended and/or modified, the “Plan”) (Doc. No. 650). The

parties have, contemporaneously with the filing of this Motion, requested that the confirmation

hearing resume on October 22, 2014 at 10 a.m. (Central), and have also agreed to submit their

respective briefs concerning confirmation of the Plan to the Bankruptcy Court by October 20,

2014 at 11:00 a.m. (Central).

                                              Relief Requested

        9.       In advance of the requested date for recommencement of the confirmation

hearing, and pursuant to the agreement of the parties, the Proponents will submit to the Court and

the Comcast Entities, by 11 a.m. (Central) on October 20, 2014, an unredacted copy of the

Proponents’ Confirmation Brief.            The Proponents’ Confirmation Brief contains or refers to

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certain information that has been designated as Confidential and/or Highly Confidential under

the terms of the Stipulation and Agreed Order Governing the Production and/or Disclosure of

Confidential Plan Documents and Discovery Materials and Authorizing the Filing of Certain

Documents Under Seal (the “Protective Order”) (Doc. No. 492).

        10.      By this Motion, pursuant to Section 107(b)(1) of the Bankruptcy Code and Rule

9018 of the Federal Rules of Bankruptcy Procedure, the Proponents request that the Court

authorize the filing of the Proponents’ Confirmation Brief under seal.

        11.      Paragraph 19 of the Protective Order provides that information designated as

“Confidential” or “Highly Confidential” under the terms of the Protective Order be submitted to

the Court under seal. As stated above, the Proponents will submit an unredacted version of the

Proponents’ Confirmation Brief to the Court and the Comcast Entities. If the Court grants the

Motion, the Proponents will, upon approval from the Comcast Entities pursuant to paragraph 19

of the Protective Order, promptly file a proposed, redacted version of the Proponents’

Confirmation Brief on the docket. To protect the confidentiality of the information designated as

Confidential and/or Highly Confidential, the Proponents request that the unredacted version of

the Proponents’ Confirmation Brief submitted to the Court be kept under seal pursuant to the

Protective Order.

        WHEREFORE the Proponents respectfully request the entry of an order granting the

relief requested herein and such other and further relief as is just and proper.




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Dated: October 20, 2014
       Houston, Texas                                HAYNES AND BOONE, LLP

                                                     By:    /s/ Charles A. Beckham, Jr.____
                                                            Charles A. Beckham, Jr.
                                                            Henry Flores
                                                            Christopher L. Castillo
                                                            1221 McKinney Street, Suite 2100
                                                            Houston, Texas 77010
                                                            Telephone: (713) 547-2000
                                                            Facsimile:     (713) 547-2600

                                  Counsel to Debtor and Debtor in Possession

MITHOFF LAW FIRM                                     WHITE & CASE LLP
Richard Warren Mithoff                               Alan Shore Gover
Sherie Potts Beckman                                 Ian J. Silverbrand (admitted pro hac vice)
One Allen Center, Penthouse                          1155 Avenue of the Americas
500 Dallas Street                                    New York, New York 10036-2787
Houston, Texas 77002-4800                            Telephone:            (212) 819-8200
Telephone:       (713) 654-1122                      Facsimile:            (212) 354-8113
Facsimile:       (713) 739-8085
                                                     Roberto J. Kampfner (admitted pro hac vice)
                                                     633 West Fifth Street, Suite 1900
                                                     Los Angeles, California 90071-2007
                                                     Telephone:          (213) 620-7700
                                                     Facsimile:          (213) 452-2329

                                          Counsel for Rocket Ball, Ltd.
VINSON & ELKINS LLP                                  KIRKLAND & ELLIS LLP
Harry A. Perrin                                      Paul M. Basta, P.C. (admitted pro hac vice)
Duston K. McFaul                                     David S. Meyer (admitted pro hac vice)
1001 Fannin Suite 2500                               601 Lexington Avenue
Houston, Texas 77002                                 New York, New York 10022
Telephone:      (713) 758-2548                       Telephone:       (212) 446-4800
Facsimile:      (713) 615-5016                       Facsimile:       (212) 446-4900

Counsel for Houston Astros, LLC                      Jeffrey S. Powell (admitted pro hac vice)
                                                     Judson D. Brown (admitted pro hac vice)
                                                     655 Fifteenth Street, N.W.
                                                     Washington, D.C. 20005
                                                     Telephone:       (202) 879-5000
                                                     Facsimile:       (202) 879-5200

                    Certification of Accuracy Pursuant to Local Rule 9013-1(i)

        Pursuant to Local Rule 9013-1(I), undersigned counsel hereby certifies the accuracy of
the facts set forth in the foregoing Motion.

                                                                      /s/ Charles A. Beckham, Jr.
                                                                      Charles A. Beckham, Jr.


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